Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 1 of 8 PagelD#: 8

 

 

CITATION
i nS,
MISSY MARTIN, ET AL Case: 00137685

Division: G
VERSUS State of Louisiana
, 16" Judicial District Court
NEXION HEALTH AT NEW IBERIA SOUTH, Parish of Iberia

INC., ET AL

To: NEXION HEALTH AT NEW IBERIA SOUTH, INC.
D/B/A NEW IBERIA MANOR SOUTH
THORUGH ITS REGISTERED AGENT FOR SERVICE OF PROCESS
CORPORATIN SERVICE COMPANY
501 LOUISIANA AVENUE
BATON ROUGE, LA 70802

of EAST BATON ROUGE Parish

You are hereby summoned to comply with the demand contained in the PETITION FOR
DAMAGES, INTERROGATORIES & REQUEST FOR PRODUCTION OF DOCUMENTS of
which a true and correct copy (exclusive of exhibits) accompanies this citation, or make an appearance,
either by filing a pleading or otherwise, the 16th Judicial District Court in and for the Parish of Iberia,
State of Louisiana, within fifteen (15) days after the service hereof, under penalty of default.

WI SS MY HAND AND OFFICIAL SEAL OF OFFICE AT NEW IBERIA, LOUISIANA, THIS
2 DAY OF JULY, 2021.

Clerk of Court
16" Judicial District Court

Parish of Iberia
sa | gt
Deputy Clerk of ml

Requested by:
LAW OFFICES OF GIA KOSMITIS

[SERVICE COPY]

 

 

 
Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 2 of 8 PagelD#: 9

MISSY MARTIN, individually and on § NUMBER: 3 W §5 - G

behalf of het mother, GERALDINE

MARTIN

“VERSUS § 167 JUDICIAL DISTRICT COURT

NEXION HEALTH AT NEW

IBERIA SOUTH, INC., D/B/A

NEW IBERIA MANOR SOUTH § IBERIA PARISH, LOUISIANA
viStow

PERMANENT ASSIGNMENT § Hisislon, &

PETITION FOR DAMAGES

Now here comes plaintiff, Missy Martin, individually and as Power of Attomey for her:
mother, GERALDINE MARTIN, in complaint against Defendant, Nexion Health at New
Ibetia South, Inc., d/b/a New Iberia Manor South, herein submitting the following:

t, Plaintiff, herein is Missy Martin, danghiter of Geraldine Martin, with duly
authorized Power of Attorney and responsible party for Geraldine Martin.

2; Mts, Geraldine Martin is 81 years of age and suffered an ankle fracture with.
surgery and was admitted to Nexion’s New Iberia Manor South for tehabilitation. care and
services on May 15,2018. At all times, it-was intended that Ms.. Martiri would iehabilitate and
teturn to independent liying in het home.

3. Defendant in this action is;

Nexion Health, at New. Iberia South, Inc.,,d/b/a New [beria Manor South,

a skilled nursing and rehabilitation facility doing business at 600 Bayard

Street, New Iberia, Louisiana, who may be served through its registered

agent for service of process, Corporation Service Company, 501 Louisiana

Avenue, Baton Rouge, Louisiana 70802 and their attorney of record.

4, Jurisdiction is proper in this Honorable Court, as this matter was submitted to a
Medical Review Panel which rendered its opinion on May 10, 2021 to which plaintiff objects,
as failing to adhere to the requirements of LSA R.S. 40;1231.8, et seq. All claims. hetein ate
properly before this Honorable Court.

5, Ms.-Geraldine Martin was admitted to the care of NEXION HEALTH ATNEW
IBERIA SOUTH, INC., D/B/A NEW IBERIA MANOR SOUTH, on May 15, 2018 pursuant
to her physician’s order.for 24 hour care for skilled nursing cate and rehabilitation, Upon admit,
Ms. Martin had ‘suffered an ankle fracture: and was expected to return to living independently

after tehabilitation. She needed total assistance and care with her daily care needs along with

   

PARISH OF IBERIA. ta”
Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 3 of 8 PagelD#: 10

¢nonitéring and supervision, She remained in the care of NEXION HEALTH AT NEW
IBERIA SOUTH, INC., D/B/A NEW IBERIA MANOR SOUTH from May 15, 2018 up until
July 15, 2018.

6. A contract was: entered into between petitioner and defendant, NEXION
HEALTH AT NEW IBERIA. SOUTH, INC., D/B/A NEW IBERIA MANOR SOUTH, to
be provided skilled 24 hour professional nursing care and services supetvised by a. physician
along with treatment sufficient to meet het physical, mental and psycho-social care needs in
compliance with all applicable standards of cate and regulations.governing nursing home care
in Louisiana including federal and state laws in exchange for approximately $6,000 per month:

7. Upon admission to the facility, Ms. Martin did nor have any pressuté injuries.
However, due to het age, immobility, need for.care and her medical conditions, it was reasonably
foreseeable that Ms. Geraldine Martin was at tisk fot developing pressure injuty if she was not
provided sufficient care, nutrition, hydration, monitoring, assistance and prevention measutes.
Unfortunately,.defendant’s agents, employees and staff failed to evaluate het risk for developing
pressure injury, failed to provide proper assessment and care planning to prevent pressure
injuries, and as a tesult, Ms. Martin suffered a deterioration of her overall condition.

8. The evidence will show that while under the care of defendant, NEXION
HEALTH AT NEW IBERIA SOUTH, INC, D/B/A NEW IBERIA MANOR SOUTH, Ms.
Martin was not provided the level of care and services promised, nor contracted, and their duty
and obligations and standards of care were breached causing Ms. Mattin to suffer severe,
malnutrition, dehydration, infections, pressure sores, a decreased quality of life, severe decline
in het condition, and injuties from which she continues to suffer to this date.

9. Upon admit to defendant’s, NEXION HEALTH AT NEW IBERIA SOUTH,
INC., D/B/A NEW IBERIA MANOR SOUTH?’s, care, Ms. Martin required around the clock
professional care 6n 4,24 hour per day basis, with assistance with all her daily :care needs which
included hygiene, feedings, assistance, mobility, turning, repositioning, hydration, medications
under a comprehensive cate plan supervised by a physician, At no time did defendants advise
petitioners they were unable to care for Ms. Martin not provide the level of'care her condition

requited.
Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 4 of8 PagelD#: 11

10, The evidence shows that upon admit, although Ms, Martin had no. skin
breakdown, she was at high tisk for developing pressute injuries due to her surgical ankle,
immobility and health status.

11. Itis shown.that Ms. Mastin was not provided with proper removal of the: boot,
cleaning and hygiene, and the nursing staff failed to evaluate Ms. Martin’s tisk for developing
pressure injury, failed to implement a comprehensive care plan to prevent pressure sores, failed
to ensute tutning and repositioning as needed by lier tissue tolerance; failed to provide off
loading of pressure to the heels, failed: to implement known pressure relief interventions, and
to properly utilize specialized equipment for their patient, failed to provide adequate hygiene,
nuttition and hydration along with daily care to prevent pressure wounds tesulting ina stage IV
necrotic infected wourid which tequired ongoing care and therapy.

12. Asa result of defendant's negligence, breaches and malpractice, Ms. Martin was
admitted to New Iberia Hospital where het heel was desctibed as black, itifected, she suffered
from cellulitis and osteomyelitis and required debridement for the pressure injury.

13. Ms. Martin was then transferred toa wound care facility for:continued wound cate
and therapy, and she continues to suffer pain and expenses for which the defendants, ate
responsible under our laws.

14. Ms. Martin continues to have pain, suffering, is unable to return to her day to day
activities, requires special shoes and is subject.to re-occutting breakdown.

15. It will be shown that NEXION HEALTH AT NEW IBERIA SOUTH, INC.,
D/B/A NEW IBERIA MANOR SOUTH staff failed to. provide basic prevention for pressure
injuties; that staff failed to ensure their patient maintained adequate nutrition and hydration to
meet het needs; failed to monitor het intake and output; failed to ensuite proper caté and
treatments along with monitoting of their patient’s needs; failed to provide. medical care for
prevention of sores, wounds, infection prevention, pressure-relieving equipment; failed to obtain
informed consent to a plan of treatment and to provide adequate numbers of trained qualified
staff and allocations of funds for patient:cate resulting in Ms. Martin suffering a severe pressute
injury to her heel which required. debtidement and intensive wound care treatment and for which

she has requited ongoing care and treatrnent.
Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 5 of 8 PagelD#: 12

146. Ms. Martin continues to suffer with these pressure wounds which began due to
the negligence of NEXION HEALTH AT NEW IBERIA SOUTH, INC., D/B/A NEW
IBERIA MANOR SOUTH and its breach of contractual obligations and fiduciary duties
established.

17 «6 As a piowimnate result of the negligence, breach of contract, breach ‘of duty,
malpractice and failure to adhere to rights guaranteed to GERALDINE MARTIN under the
Nursing Home Bill of Rights, defendants, NEXION HEALTH AT NEW IBERIA SOUTH,
INC., D/B/A NEW IBERIA MANOR SOUTH, proximately caused GERALDINE. MARTIN
to. suffer with multiple pressure injuries, deterioration of her overall status, severe. malnutrition,
dehydration, infection and sepsis. Moreover, the defendant, NEXION HEALTH AT NEW
IBERLA SOUTH, INC., D/B/A NEW IBERIA MANOR SOUTH, caused GERALDINE
MARTIN to suffer from malnutrition, infections, infected necrotic bed sores' to her heel,
hospitalizations, medical expenses and to suffer a severe overall detetioration of her health and
well-being ftom which she continues to suffer to thisdate and requires ongoing institutional care
and setvices.

18. It will be shown that as a proximate result of the breach of the standards for care,
bréach ofduty, violation of tights and breach of contract from defendants’ actions and inactions,
Ms: Martin suffered with physical pain and suffering, mental pain and suffering, disability,
disfigurement, pressute injuries, sepsis, cellulitis, decteased quality of life, decteased chance of
survival and decreased life expectancy and cominued pain and suffering to date.

19. Despite defendant’s obligation to.provide their patient with all needed assistance,
treatment, and equipment to meet all of her needs, as well as their advertisements which
promote wound cate, tehabilitation care and skilled care at its: finest, it will be shown that
defendant, NEXION HEALTH AT NEW IBERIA SGUTH, INC., D/B/A NEW IBERIA
MANOR SOUTH, failed and breached its contract-and duties. Ms. Martin was not provided
with stifficient care and treatment, including continuous. and routine repositioning and tutning,.
adequate hydration, nuttition, and monitoring, and once the pressure injury developed, they
failed to. provide wound cafe, proper hygiene and pressure ulcer prevention, infection control

and tieeded -‘medictal care, as het condition demanded.
Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 6 of 8 PagelD#: 13

20. Speeifically, it is shown that the defendant, NEXION HEALTH AT NEW

IBERIA SOUTH, INC., D/B/A NEW IBERIA MANOR SOUTH, failed in the following

mannets:
1.  Bailed to keep the patient adequately assessed, monitored, cate planned,
supervised to prevent injuries and deterioration of their patients health
cafe status

Ze: Failed to keep the patient, clean, dry, tepositioned, hydiated and
nourished to prevent the development of pregstire injuries

3, Failed to provide adequate supervision and. assistance devices and
equipment and supplies to prevent, and treat pressure sores, malnutrition,
dehydration, infections, and hygiene;

4. Failed to properly assess the patient and to act-upon significant changes
in the resident’s physical and/or mental condition and to alert the
‘physician and family of changes in the status;

a Failed to perform adequate assessments and updates as required and to
follow physician orders to provide sufficient nutrition, hydration and
pressure relief;

6. Failed to petform. adequate and comprehensive care platining, as the
patient’s condition, status changed and required, including updates to care
plans to ensure adequate cate;

t Failed to provide.an adequate number of trained professional staffto meet
the needs of their patients;

8. Failed to implement policies and procedures to meet the needs of their.
patients and provide quality cate in accord with facility mandates by
federal, state laws including Medicare/CMS quality standards,

9. Failed to provide comprehensive adequate assessments and plan of care
by-ptofessionals to ensure that the resident’s needs were met;

10. Failed to provide timely medical and physician services and other aticillaty
services to meet the needs of the patient and ensuring that the plan of care
was at all times supetvised by a physicians.

11. Failed to make routine examinations of the patient and adequate skin care
and infection control and to provide equipment and supplies fot adequate
wound cate; ,

12. Failed to ensure that quality care mandates of 42 CFR.483.25, et seq. and
the Depattment of Health and Hospitals requirernents forlong term cate
facilities were met by the individuals employed and acting as agents in
theit facilities as required by Louisiana Nursing Home Standards, Federal
Standards and professional standards for each. diséipline and
administration of the facility;

13. Failed to properly ensure that their patient was treated with dignity;
respect, and that her rights wete erisured as they contracted under La
Patients Nursing Home Bill of Rights;
Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 7 of 8 PagelD#: 14

14. Failed to ensure proper quality care in conformance with all professional
standards:of cate and in accotd with rules which govern cate provided in
nursing homes;

15. Failed to obtain needed medical interyention and quality assurance to
meet this patient’s needs and to administer and manage the facility in a
reasonably safe manner for quality patient care including performance of
facility assesstrient requirements to ensure compliance with all regulations
and minimum standards of care;

16. Failed to adequately budget and allocate furids for patient care needs,
equipment, services for quality patient cate in. accord with their promises
to plaintiffs herein.

21. As a tésult of the négligence, actions and inactions of Defendant, NEXION
HEALTH AT NEW IBERIA SOUTH, INC., D/B/ANEW IBERIA MANOR SOUTH, it will.
further be shown that GERALDINE MARTIN suffered physical pain aad suffering, merital,
pain and suffering, disfigurement, disability, decreased quality of life, decreased chance of
survival, expenses and other extraordinary expenses incurred as a result of the damages caused
by defendants.

22. It will further be shown that petitioner, MISSY MARTIN, has suffered pecuniary
and non-pecuniary losses asa result of the breach of contractincluding money damages pain-arid
anguish, emotional ptief, together with damages for the injuties. and disability of het mother,
including loss of love, affection, support and expenses.

WHEREFORE, petitioner, Missy Martin, individually and on behalf of her mother,
Geraldine Martin, prays that defendant, NEXION HEALTH AT NEW IBERIA SOUTH,
INC., D/B/A NEW IBERIA MANOR SOUTH, be.setved with a copy of this PETITION
FOR DAMAGES and be cited to appear and answer satne;

FURTHER. PRAYS that after due proceedings had, there be judgment. herein in.
plaintiff's favor and against the defendant for an amount teasonable in the ptertiises, including
damages for ‘physical pain and suffering, mental. pain and. suffering, disability, continued
expenses, together with Leewne damages, breach of contract damages, beth pecuniary and non-
‘pecuniary, additional damages, penalties, and attorneys' fees together with all costs of these
proceedings phuis legal interest on all amounts awarded from date of judicial demand until paid;

FURTHER PRAYS fot a trial by jury and for all damages allowable under the laws of

this State.
Case 6:21-cv-02259-RRS-CBW Document 1-2 Filed 07/30/21 Page 8 of 8 PagelD#: 15

Respectfully submitted,

LAW OFFICES OF GIA KOSM&TIS
A Professional Law Corporation
Attorneys for Plaintiff

BY: Oy 4

Geoksia sicSemitis v “
Attorfiey at Law

Bar Roll No. 19355

Avety Bond

Bat Roll No. 38675

3316 Line Avenue

Shreveport, Louisiana 71104

(318) 865-9800

(318) 865-0809 (facsimile)

 

Please sérve:

Nexion Health at New Iberia South, Inc.,

d/b/a New Ibetia Manor South,

through its registered agent for service of process,
Corpotation Service Company .

501 Louisiana Avenue

Baton Rouge, Louisiana 70802.

and. through its attorney of record,
Marshall T..Cox

McGlinchey Stafford

601 Poydras Street, suite 1200
‘New Orleans, LA 70130

 

 

Dty: Clerk of Court
Iberia Parish, LA

   

». ROP LS"
PARISH OF TaapS LA
